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 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    OAKLAND DIVISION

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              [PROPOSED] ORDER GRANTING
                                               DEFENDANTS NSO GROUP
13               Plaintiffs,                   TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED’S MOTION TO STAY
                                               PENDING APPEAL
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
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17               Defendants.

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      [PROPOSED] ORDER GRANTING                                   Case No. 4:19-cv-07123-PJH
      MOTION FOR ENTRY OF PROTECTIVE
      ORDER
     Case 4:19-cv-07123-PJH Document 117-3 Filed 08/05/20 Page 2 of 2




 1          The Court, having considered all filings in support of, and in opposition to, the motion of

 2   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited to stay

 3   pending appeal, and GOOD CAUSE THEREFOR APPEARING:

 4          1.      The motion is hereby GRANTED.

 5          2.      All proceedings that would impose litigation burdens on Defendants pending the

 6   final resolution of their appeal of the Court’s order denying their motion to dismiss for lack of

 7   subject-matter jurisdiction are hereby STAYED.

 8          3.      Plaintiffs may file an amended complaint as previously ordered (Dkt. No. 111 at

 9 45), but Defendants’ deadlines for responsive pleadings are STAYED.

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11          IT IS SO ORDERED.

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13 Dated: ________________, 2020                   _________________________________________
                                                   THE HONORABLE PHYLLIS J. HAMILTON
14
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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       [PROPOSED] ORDER GRANTING                      1                         Case No. 4:19-cv-07123-PJH
       MOTION FOR ENTRY OF
       PROTECTIVE ORDER
